                     Case 4:07-cv-05944-JST Document 3745-1 Filed 03/06/15 Page 1 of 4


            1    GIBSON, DUNN & CRUTCHER LLP
                 JOEL S. SANDERS, SBN 107234
            2    jsanders@gibsondunn.com
                 RACHEL S. BRASS, SBN 219301
            3    rbrass@gibsondunn.com
                 AUSTIN SCHWING, SBN 211696
            4    aschwing@gibsondunn.com
                 555 Mission Street, Suite 3000
            5    San Francisco, CA 94105
                 Telephone: (415) 393-8200
            6    Facsimile: (415) 986-5309
            7    FARMER BROWNSTEIN JAEGER LLP
                 WILLIAM S. FARMER, SBN 46694
            8    WFarmer@FBJ-law.com
                 DAVID BROWNSTEIN, SBN 141929
            9    DBrownstein@FBJ-law.com
                 JACOB ALPREN, SBN 235713
           10    JAlpren@FBJ-law.com
                 235 Montgomery Street, Suite 835
           11    San Francisco California 94104
                 Telephone: 415.962.2876
           12    Facsimile: 415.520.5678
           13    Attorneys for Defendants
                 CHUNGHWA PICTURE TUBES, LTD. and
           14    CHUNGHWA PICTURE TUBES (MALAYSIA)
                 SDN. BHD.
           15

           16
                                                  UNITED STATES DISTRICT COURT
           17
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
           18
                                                      SAN FRANCISCO DIVISION
           19

           20    IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 SC
                 ANTITRUST LITIGATION                                    MDL No. 1917
           21    _______________________________________
                                                                         DECLARATION OF RACHEL S. BRASS
           22    This Document Relates To:                               IN SUPPORT OF DEFENDANTS
                                                                         CHUNGHWA PICTURE TUBES, LTD.
           23    Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   AND CHUNGHWA PICTURE TUBES
                 3:11-cv-05513-SC                                        (MALAYSIA) SDN. BHD.’S REPLY IN
           24                                                            SUPPORT OF THEIR MOTION IN
                 ViewSonic Corp. v. Chunghwa Picture Tubes,              LIMINE TO EXCLUDE OPINIONS OR
           25    Ltd. et al., No. 3:14-cv-02510-SC                       CALCULATIONS REGARDING ACTUAL
                                                                         DAMAGES ATTRIBUTABLE TO THE
           26                                                            CHUNGHWA DEFENDANTS
           27

           28                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

Gibson, Dunn &
Crutcher LLP
                 DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CHUNGHWA’S REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
                                 OPINIONS REGARDING ACTUAL DAMAGES – MASTER CASE NO. 07-CV-5944 SC
                     Case 4:07-cv-05944-JST Document 3745-1 Filed 03/06/15 Page 2 of 4


            1           I, Rachel S. Brass, hereby declare as follows:
            2           1.      I am a partner in the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
            3    Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (collectively,
            4    “Chunghwa”) in the above-referenced action.
            5           2.      I submit this declaration in support of Defendants Chunghwa Picture Tubes, Ltd. and
            6    Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.’s Reply in Support of Their Motion in Limine to
            7    Exclude Opinions or Calculations Regarding Actual Damages Attributable to Chunghwa Defendants.
            8    Unless otherwise indicated, I have personal knowledge of the foregoing and could and would testify
            9    to the same if called as a witness in this matter.
           10           3.      Attached as Exhibit 1 is a true and correct copy of a “Visitation Report,” dated March
           11    20, 1998, produced by Chunghwa as CHU00028472-74, with accompanying certified English
           12    translation CHU00028472E-74E.
           13           4.      Attached as Exhibit 2 is a true and correct copy of a “Customer Contact Report,”
           14    dated November 7, 1997, produced by Chunghwa as CHU00028490-92, with accompanying certified
           15    English translation CHU00028490E-92E.
           16           5.      Attached as Exhibit 3 is a true and correct copy of a “Visiting Report,” dated
           17    November 4, 1997, produced by Chunghwa as CHU00028677-79, with accompanying certified
           18    English translation CHU00028677E-79E.
           19           6.      Attached as Exhibit 4 is a true and correct copy of cited excerpts from the certified
           20    deposition transcript of Dr. Alan S. Frankel, which took place on July 10, 2014.
           21           7.      We do not have any records of receiving                             ViewSonic
           22    referenced in its Opposition Brief. On March 5, 2015, our office contacted counsel for ViewSonic
           23    asking them to identify the file in Dr. Frankel’s backup materials. Counsel for ViewSonic replied on
           24    March 6, 2015. A true and correct copy of that email exchange is attached as Exhibit 5.
           25           8.      In their response, ViewSonic’s counsel stated that the “
           26

           27

           28    ViewSonic’s counsel also “

Gibson, Dunn &
                                                                      1
Crutcher LLP
                 DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CHUNGHWA’S REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
                                 OPINIONS REGARDING ACTUAL DAMAGES – MASTER CASE NO. 07-CV-5944 SC
                     Case 4:07-cv-05944-JST Document 3745-1 Filed 03/06/15 Page 3 of 4


            1                                                ” A true and correct copy of that Word document is
            2    attached as Exhibit 6. The only highlighted words in that document are “                   ” which
            3    appear at the bottom of page four.
            4           I declare under penalty of perjury that the foregoing is true and correct.
            5           Executed this 6th day of March 2015, at San Francisco, California.
            6

            7                                                 By:       /s/ Rachel S. Brass
                                                                              Rachel S. Brass
            8

            9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
                                                                    2
Crutcher LLP
                 DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CHUNGHWA’S REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
                                 OPINIONS REGARDING ACTUAL DAMAGES – MASTER CASE NO. 07-CV-5944 SC
                      Case 4:07-cv-05944-JST Document 3745-1 Filed 03/06/15 Page 4 of 4


            1                                         DECLARATION OF SERVICE
            2             I, Joseph Hansen, declare as follows:
            3            I am employed in the County of San Francisco, State of California; I am over the age of
                 eighteen years and am not a party to this action; my business address is 555 Mission Street, Suite
            4    3000, San Francisco, California, 94105, in said County and State. On the date below, I served the
                 within:
            5
                          DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANTS
            6             CHUNGHWA PICTURE TUBES, LTD. AND CHUNGHWA PICTURE TUBES
                          (MALAYSIA) SDN. BHD.’S REPLY IN SUPPORT OF THEIR MOTION IN LIMINE
            7             TO EXCLUDE OPINIONS OR CALCULATIONS REGARDING ACTUAL
                          DAMAGES ATTRIBUTABLE TO THE CHUNGHWA DEFENDANTS
            8
                 to all named counsel of record as follows:
            9
                               BY ECF (ELECTRONIC CASE FILING): I e-filed the above-detailed documents
           10                  utilizing the United States District Court, Northern District of California’s mandated ECF
                              (Electronic Case Filing) service on March 6, 2015. Counsel of record are required by the
           11                  Court to be registered e-filers, and as such are automatically e-served with a copy of the
                               documents upon confirmation of e-filing.
           12
                       I certify under penalty of perjury that the foregoing is true and correct, that the foregoing
           13    document(s) were printed on recycled paper, and that this Declaration of Service was executed by me
                 on March 6, 2015, at San Francisco, California.
           14

           15                                                                   /s/ Joseph Hansen
                                                                                     Joseph Hansen
           16

           17
                 101891399.2
           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

Gibson, Dunn &
                                                                       3
Crutcher LLP
                 DECLARATION OF RACHEL S. BRASS IN SUPPORT OF CHUNGHWA’S REPLY IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
                                 OPINIONS REGARDING ACTUAL DAMAGES – MASTER CASE NO. 07-CV-5944 SC
